Case 2:01-cr-20235-RHC Document 67 Filed 08/01/05 Page 1 of 3 Page|D 74

IN THE UNITED sTATEs DIsTRICT COB&IE er TQ\;P_ D-G~
FoR THE WESTERN DIsTRICT oF TENNESSEE

 

WESTERN DIVISION 95 AU(; -l PH 5= 113
T\-lOMAS M. GOULD
G£F§<¢ 553 ll?i§.]’-`F§:l mill
UNITED sTATES oF AMERch ) W»*D tit tit tt*fi‘l°ll$
)
Plaintiff, )
)
Vs ) CAsE No. 01-20235-€1@
)
JoHN ALLEN LAToN )
)
Defendant. )
)

 

ORDER TO SURRENDER

 

The defendant, John Allen Laton, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI Forrest City, P.O. Box
7000, Forrest City, AR 72335 by 2:00 p.m. on Monday, August 15, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered to the facility named above.

ENTERED this the 24 ¢ day of July, 2005.

@QWL

ROBER'I` H. CLELAND
UNITED STATES DISTRIC'I' JUDGE

|'hls document entered on the docket She ingomplianca
with Ru|e 55 and/or 32(b) FRCrP on '

Case 2:01-cr-20235-RHC Document 67 Filed 08/01/05 Page 2 of 3 Page|D 75

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicte-d, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:0]-CR-20235 was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Jennifer Lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Robert Cleland
US DISTRICT COURT

